                             UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 Civil No.: 4:22-cv-00008-BO

HARFORD MUTUAL INSURANCE                           )
COMPANY                                            )
                                                   )
                        Plaintiff,                 )
                                                   )
 v.                                                )
                                                   )  FIRST AMENDED COMPLAINT
STREAMLINE DEVELOPERS, LLC,                        ) FOR DECLARATORY JUDGMENT
JORDAN MAROULES, AUTO-OWNERS                       )      AND OTHER RELIEF
INSURANCE COMPANY, BUILDERS                        )
MUTUAL INSURANCE COMPANY,                          )
LEACHMAN STOLLER HOME PLAN                         )
DESIGN, LLC, and NANCY STOLLER                     )
                                                   )
                        Defendants.                )
                                                   )

       Plaintiff Harford Mutual Insurance Company, by and through undersigned counsel, for its

Complaint for Declaratory Judgment and other relief against Defendants Streamline Developers,

LLC, Jordan Maroules, Auto-Owners Insurance Company, Builders Mutual Insurance Company,

Leachman Stoller Home Plan Design, LLC, and Nancy Stoller, allege and say as follows:

                                            PARTIES

       1.       Plaintiff Harford Mutual Insurance Company (“HMIC”) is a corporation organized

under the laws of the State of Maryland with its principal place of business located in the State of

Maryland. At all times relevant hereto, HMIC was authorized to conduct business in the insurance

industry in the State of North Carolina.

       2.       Upon information and belief, Defendant Streamline Developers, LLC

(“Streamline”), is a Limited Liability Company organized and existing under the laws of the State

of North Carolina with its principal place of business in Carteret County, North Carolina. Upon

information and belief, all Streamlines’ members are citizens of the State of North Carolina.



            Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 1 of 17
        3.       Upon information and belief, Defendant Jordan Maroules is a citizen and resident

of Carteret County, North Carolina.

        4.       Upon information and belief, Auto-Owners Insurance Company (“Auto-Owners”),

is a corporation organized and existing under the laws of the State of Michigan with its principal

place of business in Lansing, Michigan.

        5.       Upon information and belief, Builders Mutual Insurance Company (“Builders

Mutual”), is a corporation organized and existing under the laws of the State of North Carolina

with its principal place of business in Raleigh, North Carolina.

        6.       Upon information and belief, Leachman Stoller Home Plan Design, LLC

(“Leachman Stoller”), is a Limited Liability Company organized and existing under the laws of

the State of North Carolina with its principal place of business in Carteret County, North Carolina.

Upon information and belief, all Leachman Stoller’s members are citizens of the State of North

Carolina.

        7.       Upon information and belief, Defendant Nancy Stoller is a citizen and resident of

Carteret County, North Carolina.1

                                    JURISDICTIONS AND VENUE

        8.       This is a declaratory judgment action with jurisdiction based upon 28 U.S.C. § 2201

and diversity of citizenship under 28 U.S.C. § 1332, where the matter in controversy exceeds the

sum of $75,000 exclusive of interest and costs and is between citizens of different states.

        9.       Venue is proper in this judicial district under 28 U.S.C. § 1391(b) by virtue of the

fact that a substantial part of the events giving rise to the claims took place in this District.




1
        Together Leachman Stoller and Ms. Stoller are referred to as Underlying Plaintiffs.


                                                            2
             Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 2 of 17
       10.     This Court has the power to grant the relief sought in this action pursuant to, inter

alia, 28 U.S.C. § 2201 and Rule 57 of the Federal Rules of Civil Procedure.

                                THE UNDERLYING LITIGATION

       11.     HMIC incorporates by reference the allegations contained in paragraphs 1 through

9 of the Complaint.

       12.     On or about July 2, 2020, Underlying Plaintiffs commenced a civil lawsuit, entitled

Nancy Stoller and Leachman Stoller Home Plan Design LLC, Plaintiffs v. Jordan Maroules,

Streamline Developers LLC, Steven Grant McMillan, and Plansource Designs, LLC, Defendants,

case number 4:20-cv-00134, in the United States District Court for the Eastern District of North

Carolina (the “Underlying Litigation”). On September 2, 2020, Ms. Stoller and Leachman Stoller

filed their First Amended Complaint. A copy of the First Amended Complaint filed in the

Underlying Litigation is attached as Exhibit A.

       13.     On February 1, 2022, the Court in the Underlying Litigation entered summary

judgment,2 finding as follows:

               a.       That Streamline and Mr. Maroules engaged in intentional copyright

                        infringement by both utilizing Underlying Plaintiffs’ designs without

                        authorization and by altering Underlying Plaintiffs’ plans to include

                        Streamline’s name and marketing those plans without permission, MSJ

                        Order at 8;

               b.       That Streamline and Mr. Maroules infringed on Underlying Plaintiffs’

                        copyright management information through the removal of copyright




2
       Underlying Litigation D.E. 62, attached as Exhibit B (“MSJ Order”).


                                                         3
         Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 3 of 17
                         notices and/or Underlying Plaintiffs’ names on seventy-nine plans, MSJ

                         Order at 8-9;

                c.       That Streamline and Mr. Maroules violated Underlying Plaintiffs’ copyright

                         by engaging in a minimum of eight unauthorized builds of homes based on

                         plans which Streamline and Mr. Maroules did not have license to use, MSJ

                         Order at 9;

                d.       That Streamline and Mr. Maroules waived all asserted affirmative defenses

                         other than the statute of limitations by failing to argue those affirmative

                         defenses in response to the Underlying Plaintiffs’ Motion for Partial

                         Summary Judgment, MSJ Order at 8.

        14.     The Underlying Litigation arises from damages Underlying Plaintiffs claim they

sustained between 2014 and the date of the filing of the Underlying Litigation as a result of

Streamline and Mr. Maroules’s use of home designs generated by Underlying Plaintiffs in

residential construction without paying the required licensing or reuse fees.

        15.     Upon information and belief, the unauthorized use of home designs generated by

Underlying Plaintiffs began no later than December 17, 2015.

        16.     Those issues not adjudicated by the Summary Judgment Ruling in the Underlying

Litigation remain pending and have an anticipated trial date in 2022.

                               THE BUILDERS MUTUAL POLICY

        17.     Streamline is the named insured under Builders Mutual Policy No. CPP 0048355

03 (the “Builders Mutual Policy”). A copy of the Builders Mutual Policy is attached as Exhibit C.

        18.     The Builders Mutual Policy had a Policy Period of May 18, 2014, to May 18, 2015.3


3
        The Builders Mutual Policy is a renewal of Policies No. CPP 0048355 01 (Policy Period May 18, 2012, to
May 18, 2013) and CPP 0048355 02 (Policy Period May 18, 2013, to May 18, 2014).


                                                         4
          Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 4 of 17
       19.     Under the insuring agreement of Coverage B – “Personal and Advertising Injury

Liability” of the Builders Mutual Policy coverage is afforded as follows:

               a.     We will pay those sums that the insured becomes legally obligated
                      to pay as damages because of “personal and advertising injury” to
                      which this insurance applies. We will have the right and duty to
                      defend the insured against any “suit” seeking those damages.
                      However, we will have no duty to defend the insured against any
                      “suit” seeking damages for “personal and advertising injury” to
                      which this insurance does not apply. We may, at our discretion,
                      investigate any offense and settle any claim or “suit” that may result.
                      But:

               (1)    The amount we will pay for damages is limited as described in
                      Section III – Limits Of Insurance; and

               (2)    Our right and duty to defend end when we have used up the
                      applicable limit of insurance in the payment of judgments or
                      settlements under Coverages A or B or medical expenses under
                      Coverage C.

               No other obligation or liability to pay sums or perform acts or services is
               covered unless explicitly provided for under Supplementary Payments –
               Coverages A and B.

               b.     This insurance applies to “personal and advertising injury” caused
                      by an offense arising out of your business but only if the offense was
                      committed in the “coverage territory” during the Policy Period.

Exhibit C at 111.

       20.     The Builders Mutual Policy defines “personal and advertising injury” to include

injury arising out of one of the following offenses: “f. [t]he use of another’s advertising idea in

your ‘advertisement;’ or g. [i]nfringing upon another’s copyright, trade dress or slogan in your

‘advertisement.’”

                               THE AUTO-OWNERS POLICY

       21.     Upon information and belief, Streamline is the named insured under Auto-Owners

Policy No. 154615-35203945-16 (the “Auto-Owners Policy”).




                                                   5
         Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 5 of 17
        22.      Upon information and belief, the Auto-Owners Policy had a Policy Period of May

18, 2016, to May 18, 2017.

        23.      Upon information and belief, the Auto-Owners Policy is a renewal from the Policy

Period of May 18, 2015, to May 18, 2016.

        24.      Upon information and belief, the Auto-Owners Policy contains the same insuring

agreement covering “personal and advertising injury liability” and the same exclusion to that

coverage part as the Builders Mutual Policy and HMIC Policy.

                                         THE HMIC POLICIES

        25.      Streamline is the named insured under HMIC Policy No. 9155067 (the “HMIC

Policy”). A certified true and accurate copy of the HMIC Policy is attached as Exhibit D.

        26.      The HMIC Policy had a Policy Period of May 18, 2016, to May 18, 2017.4 Each

policy renewed with similar triggering language and exclusions.

        27.      Under the insuring agreement of Coverage B – “Personal and Advertising Injury

Liability,” coverage is afforded as follows:

                 c.      We will pay those sums that the insured becomes legally obligated
                         to pay as damages because of “personal and advertising injury” to
                         which this insurance applies. We will have the right and duty to
                         defend the insured against any “suit” seeking those damages.
                         However, we will have no duty to defend the insured against any
                         “suit” seeking damages for “personal and advertising injury” to
                         which this insurance does not apply. We may, at our discretion,
                         investigate any offense and settle any claim or “suit” that may result.
                         But:

                 (3)     The amount we will pay for damages is limited as described in
                         Section III – Limits Of Insurance; and



4
        The HMIC Policy was renewed for the following Policy Periods under the following Policy Numbers: Policy
Number 9162986 – May 18, 2017, to May 18, 2018; Policy Number 9173587 – May 18, 2018, to May 18, 2019;
Policy Number 9183938 – May 18, 2019, to May 18, 2020; Policy Number 9194044 – May 18, 2020, to May 18,
2021; and Policy Number 9203759 – May 18, 2021, to May 18, 2022.


                                                          6
           Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 6 of 17
               (4)    Our right and duty to defend end when we have used up the
                      applicable limit of insurance in the payment of judgments or
                      settlements under Coverages A or B or medical expenses under
                      Coverage C.

               No other obligation or liability to pay sums or perform acts or services is
               covered unless explicitly provided for under Supplementary Payments –
               Coverages A and B.

               d.     This insurance applies to “personal and advertising injury” caused
                      by an offense arising out of your business but only if the offense was
                      committed in the “coverage territory” during the Policy Period.

Exhibit D at 93.

         28.   The HMIC Policy defines “personal and advertising injury” to include injury

arising out of one of the following offenses: “f. [t]he use of another’s advertising idea in your

‘advertisement;’ or g. [i]nfringing upon another’s copyright, trade dress or slogan in your

‘advertisement.’”

         29.   The “Commercial General Liability Conditions” section of the of the HMIC Policy

imposes the following obligations on the insured in the event of an “occurrence, offense, claim or

suit:”

               a.     You must see to it that we are notified as soon as practicable of an
                      “occurrence” or an offense which may result in a claim. To the
                      extent possible, notice should include:

               (1)    How, when and where the “occurrence” or offense took place;
               (2)    The names and addresses of any injured persons and witnesses; and
               (3)    The nature and location of any injury or damage arising out of the
                      “occurrence” or offense.

               b.     If a claim is made or “suit” is brought against any insured, you must:

               (1)    Immediately record the specifics of the claim or “suit” and the date
                      received; and
               (2)    Notify us as soon as practicable.

               You must see to it that we receive written notice of the claim or “suit” as
               soon as practicable.



                                                   7
           Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 7 of 17
               c.     You and any other involved insured must:

               (1)    Immediately send us copies of any demands, notices, summonses or
                      legal papers received in connection with the claim or “suit”;
               (2)    Authorize us to obtain records and other information;
               (3)    Cooperate with us in the investigation or settlement of the claim or
                      defense against the “suit”; and
               (4)    Assist us, upon our request, in the enforcement of any right against
                      any person or organization which may be liable to the insured
                      because of injury or damage to which this insurance may also apply.

               d.     No insured will, except at that insured’s own cost, voluntarily make
                      a payment, assume any obligation, or incur any expense, other than
                      for first aid, without our consent.

Exhibit D at 98.

       30.     Coverage B of the HMIC Policy contains the following exclusions:

               a.     Knowing Violation Of Rights Of Another

               “Personal and advertising injury” caused by or at the direction of the insured
               with the knowledge that the act would violate the rights of another and
               would inflict “personal and advertising injury”.

               b.     Material Published with Knowledge of Falsity

               "Personal and advertising injury" arising out of oral or written publication,
               in any manner, of material, if done by or at the direction of the insured with
               knowledge of its falsity.

               c.     Material Published Prior To Policy Period

               “Personal and advertising injury” arising out of oral or written publication,
               in any manner, of material whose first publication took place before the
               beginning of the Policy Period.

               f.     Breach Of Contract

               “Personal and advertising injury” arising out of a breach of contract, except
               an implied contract to use another’s advertising idea in your
               “advertisement”.




                                                    8
         Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 8 of 17
               i.      Infringement Of Copyright, Patent, Trademark Or Trade Secret

               “Personal and advertising injury” arising out of the infringement of
               copyright, patent, trademark, trade secret or other intellectual property
               rights. Under this exclusion, such other intellectual property rights do not
               include the use of another’s advertising idea in your “advertisement”.
               However, this exclusion does not apply to infringement, in your
               “advertisement”, of copyright, trade dress or slogan.

               l.      Unauthorized Use Of Another’s Name Or Product

               “Personal and advertising injury” arising out of the unauthorized use of
               another’s name or product in your e-mail address, domain name or metatag,
               or any other similar tactics to mislead another’s potential customers.

Exhibit D at 93-94.

       31.     HMIC has fully reserved its rights regarding the applicable HMIC Policy and

Underlying Litigation and Streamline and Mr. Maroules have been formally notified in writing of

that reservation and that HMIC’s decision to defend them should not be construed as a waiver of

any defense to coverage.

      THE HMIC POLICY DOES NOT AFFORD COVERAGE TO STREAMLINE

       32.     Coverage is not available to Streamline and Mr. Maroules under the HMIC Policy.

       33.     The Court, in its Summary Judgment ruling, found that Streamline’s construction

of homes using Leachman Stoller plans without a license and the intentional removal of Leachman

Stoller’s copyright notice and name from plans constitutes a violation of Underlying Plaintiffs’

copyrights. MSJ Order at 8-9.

       34.     Such a violation is squarely excluded by exclusion i. “Infringement Of Copyright,

Patent, Trademark Or Trade Secret.”

       35.     The Court’s Summary Judgment Ruling addressed Streamline’s use of Underlying

Plaintiffs’ copyrighted plans in advertising, including the specific instance of copyright violation

associated with the Wilmington Parade of Homes marketing materials. MSJ Order at 7. These


                                                    9
         Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 9 of 17
copyright violations associated with advertising all stem from the intentional removal of

Underlying Plaintiffs’ copyright management information, including copyright notices and

Underlying Plaintiffs’ names. Therefore, there is no coverage for those allegations for which the

Court has ruled in Underlying Plaintiffs’ favor at Summary Judgment.

        36.      In addition to the foregoing, there are multiple exclusions that bar any coverage the

HMIC Policy may have afforded here.

        37.      Under the “Knowing Violation of Rights of Another” exclusion, coverage does not

apply to “‘[p]ersonal or advertising injury’ caused by or at the direction of the insured with the

knowledge that the act would violate the rights of another and would inflict ‘personal and

advertising injury.’”5

        38.      Streamline and Mr. Maroules have been adjudged to have continued constructing

homes utilizing the plans generated by Underlying Plaintiffs with the knowledge that use of the

plans required additional licensing that Streamline had not purchased, both actions constituting

intentional violations of Underlying Plaintiffs’ copyrights.

        39.      Under the “Material Published with Knowledge of Falsity” exclusion, coverage

does not apply to “‘[p]ersonal and advertising injury’ arising out of oral or written publication, in

any manner, of material, if done by or at the direction of the insured with knowledge of its falsity.”

        40.      Streamline and Mr. Maroules have been adjudged to have published Leachman

Stoller plans after intentionally removing the Leachman Stoller name, adding Streamline’s name

and logo and “falsely claimed the right to sell and build the designs.” Even after being confronted




5
         HMIC maintains that no advertising injury has occurred and has reserved rights as to any such claim under
the HMIC policy. Because this declaratory judgment action seeks only relief from the duty to defend, however, the
question of whether an advertising injury has occurred is not yet ripe.


                                                          10
          Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 10 of 17
by Ms. Stoller, Streamline continued publishing the plans on a website without the knowledge or

permission of Leachman Stoller or Ms. Stoller. Exhibit A at ¶ 34-39.

       41.     Under the “Material Published Prior To Policy Period” exclusion, coverage does

not apply to “‘[p]ersonal and advertising injury’” arising out of oral or written publication, in any

manner, of material whose first publication took place before the beginning of the Policy Period.”

       42.     Streamline and Mr. Maroules’s violations of Leachman Stoller and Ms. Stoller’s

copyrights pre-dates the Policy Period of the first HMIC Policy and is, therefore, not covered under

the policy.

       43.     Under the “Breach of Contract” exclusion, coverage does not apply to “‘[p]ersonal

and advertising injury’ arising out of a breach of contract, except an implied contract to use

another's advertising idea in your ‘advertisement.’”

       44.     Underlying Plaintiffs’ second claim for relief is for breach of contract and is,

therefore, excluded from coverage.

       45.     Under the “Infringement Of Copyright, Patent, Trademark Or Trade Secret”

exclusion, coverage does not apply to “‘[p]ersonal and advertising injury’ arising out of the

infringement of copyright, patent, trademark, trade secret or other intellectual property rights.”

       46.     The Court has awarded Underlying Plaintiffs summary judgment on their claims

for copyright infringement. As copyright infringement is excluded under the HMIC Policy, no

coverage is afforded for these claims.

       47.     Under the “Unauthorized Use Of Another's Name Or Product” exclusion, coverage

does not apply to “‘[p]ersonal and advertising injury’ arising out of the unauthorized use of

another's name or product in your e-mail address, domain name or metatag, or any other similar

tactics to mislead another's potential customers.”




                                                     11
         Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 11 of 17
       48.    The Court determined that Streamline and Mr. Maroules intentionally passed

Leachman Stoller plans off as Streamline’s plans. This is excluded under the HMIC Policy.

       49.    The HMIC Policy requires that Streamline provides written notice of the claim as

soon as practicable. Further, the HMIC Policy requires Streamline to “immediately send [HMIC]

copies of any demands, notices, summons, or legal papers received.”

       50.    Streamline and Mr. Maroules failed to provide any notice of the litigation until over

a year after it was filed. In reality, Streamline should have notified HMIC of a claim in August

2019, when Ms. Stoller notified Mr. Maroules that he did not have “permission or license to use,

build, sell, alter, modify, advertise, or convey any of my plans.” Am. Compl. ¶ 66.

       51.    There is no coverage for the Underlying Litigation based on Streamline and Mr.

Maroules’s failure to notify HMIC and cooperate with HMIC in the defense of the action.

                                     COUNT I
                         (CLAIM FOR DECLARATORY RELIEF)

       52.    HMIC incorporates by reference the allegations contained in paragraphs 1 through

44 of the Complaint.

       53.    While the question of whether construction of a home is or is not an advertising

injury as defined by the language contained in the HMIC Policy, some jurisdictions have

determined that construction of a home is not an advertising injury. See Highland Holdings, Inc.

v. Mid–Continent Cas. Co., 2016 WL 3447523 (M.D. Fla. 2016), aff’d, 687 Fed. Appx. 819 (11th

Cir. 2017); see also Kirk King v. Continental Western Insurance Co., 123 S.W.3d 259 (Mo. Ct.

App. 2003) (“in isolation ... home construction is not advertising”). Therefore, no coverage is

afforded under the HMIC policy for advertising injury based on the construction of homes by

Streamline using Leachman Stoller plans.




                                                  12
         Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 12 of 17
       54.     In the Underlying Litigation, Underlying Plaintiffs have alleged that Streamline and

Mr. Maroules knowingly and with intent to financially gain from Underlying Plaintiffs’ protected

copyrighted work, directly infringed on Leachman Stoller and Ms. Stoller’s copyright. Exhibit A

at ¶ 70-75. The Court awarded Underlying Plaintiffs summary judgment on this claim.

       55.     Further, Underlying Plaintiffs allege that Streamline took plans that purchased by

a competing builder, marketing them as their own plans, and building and selling a house from the

misappropriated design. Exhibit A at ¶ 5. The Court awarded Underlying Plaintiffs summary

judgment on this claim.

       56.     Streamline and Mr. Maroules failed to timely notify HMIC of the claim in August

2019 and of the Lawsuit in July 2020.

       57.     As a result of Streamline’s failure to timely notify HMIC, HMIC was unable to

investigate the circumstances of the claim to prepare to adjust or control the defense of the action.

As a result, Streamline has failed to comply with the terms of the insurance contract and HMIC

has suffered prejudice in the defense of this action.

       58.     As a result, there is no coverage to Streamline and Mr. Maroules with respect to the

claims asserted in the Underlying Litigation.

       59.     HMIC respectfully requests the Court to judicially declare that: 1) the construction

of homes by Streamline utilizing Leachman Stoller’s copywritten plans is not an advertising injury

under the HMIC Policy and, therefore, HMIC is relieved of the duty to defend; 2) HMIC is relieved

of the duty to defend or indemnify Streamline and Mr. Maroules pursuant to the exclusionary terms

of the HMIC Policy cited above and the allegations of knowing violation of the rights of

Underlying Plaintiffs by Mr. Maroules; and 3) that Streamline’s failure to notify HMIC of the




                                                    13
         Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 13 of 17
claim and Underlying Litigation prejudiced HMIC in the defense of this action and was a violation

of the insurance contract such that HMIC is relieved of the duty to defend

                            COUNT II
    (CLAIM FOR DECLARATORY RELIEF ASSERTED IN THE ALTERNATIVE)

          60.   HMIC incorporates by reference the allegations contained in paragraphs 1 through

53 of the Complaint.

          61.   The HMIC Policy applies to “personal and advertising injury” caused by an offense

arising out of the insured’s business but only if the offense was committed during the Policy

Period.

          62.   All allegations in the Underlying Litigation can be traced to Streamline and Mr.

Maroules’s decision to utilize Underlying Plaintiffs’ copyrighted material without a license, which,

upon information and belief, began no later than December 17, 2015. All Underlying Plaintiffs’

alleged damages stem from this common scheme.

          63.   The claims alleged in the Underlying Litigation constitute a series of continuous,

repeated, interrelated acts, or a single cause or related acts, to utilize Underlying Plaintiffs’

copyrighted material in to market, build, and sell homes constructed by Streamline and Mr.

Maroules.

          64.   Accordingly, pursuant to the terms of the HMIC Policy, all the claims against

Streamline and Mr. Maroules in the Underlying Litigation should be construed as one occurrence.

          65.   Therefore, should the Court deny the declaratory relief requested in Count I of the

Complaint, HMIC respectfully requests, in the alternative, the Court judicially declare that the

actions of Streamline and Mr. Maroules constitute a single occurrence that began prior to the first

date of the May 18, 2016, to May 18, 2017 Policy Period of the HMIC Policy. Therefore, the




                                                   14
           Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 14 of 17
HMIC Policy does not afford coverage to Streamline and Mr. Maroules for the Underlying

Litigation.

       WHEREFORE, Plaintiff prays for a judgment against Defendants that includes the

following relief:

       1.      The entry of a declaratory judgment adjudging the rights of HMIC under the HMIC

Policy with regard to the Underlying Litigation. Specifically, Plaintiff prays for an Order

adjudging and declaring that: (a) No coverage is afforded under the HMIC Policy as the

construction of a home is not an advertising injury; (b) that Streamline’s failure to notify HMIC

of the claim and the Underlying Litigation was a breach of the insurance contract; (c) that HMIC

owes no duty to defend or indemnify Streamline and Mr. Maroules in the Underlying Litigation

under the HMIC Policy due to the intentional acts of Streamline and Mr. Maroules; and (d) in the

alternative, the violations of Underlying Plaintiffs’ copyright by Streamline and Mr. Maroules

constitute a single occurrence which pre-dates the Policy Period of the HMIC Policy.

       2.      In the alternative, the entry of a declaratory judgment adjudging that HMIC and

Builders Mutual each owe a duty to defend Streamline and Mr. Maroules in the Underlying

Litigation under their respective Policies and the entry of an Order that HMIC, Auto-Owners, and

Builders Mutual each pay proportional shares of the cost of defense of Streamline and Mr.

Maroules moving forward.

       3.      For a jury trial on all issues so triable.

       4.      Any other and further relief as the Court may deem just and proper.




                                [SIGNATURE PAGE FOLLOWS]




                                                      15
         Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 15 of 17
This the 16th day of February, 2022.

                               TEAGUE, CAMPBELL, DENNIS & GORHAM, L.L.P.

                               BY: /s/ William A. Bulfer
                                   William A. Bulfer – N.C. State Bar No. 31424
                                   Megan N. Silver – N.C. State Bar No. 40070
                                   117 Cherry Street North
                                   Asheville, North Carolina 28801
                                   Telephone: (828) 254-4515
                                   Fax:         (828) 254-4516
                                   Email:       wbulfer@teaguecampbell.com
                                                msilver@teaguecampbell.com


                                   Daniel T. Strong – N.C. State Bar No. 49546
                                   4700 Falls of Neuse Road, Suite 450
                                   Raleigh, North Carolina 27609
                                   Telephone: (919) 873-0166
                                   Fax:         (919) 873-1814
                                   Email:       dstrong@teaguecampbell.com

                                   Attorneys for Harford Mutual Insurance Company




                                           16
   Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 16 of 17
                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 16, 2022, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system and served all known counsel of record as follows:

       James C. White
       100 Europa Drive, Suite 401
       Chapel Hill, NC 27517
       jwhite@jcwhitelaw.com
       Attorney for Leachman Stoller Home Plan Design, LLC, and Nancy Stoller
       (via CM/ECF)

       Heather Connor
       McAngus Goudelock & Currie
       6302 Fairview Road Ste 700
       Charlotte, NC 28210-2267
       heather.connor@mgclaw.com
       Attorney for Builders Mutual Insurance Company
       (via CM/ECF)

       Matthew A. L. Anderson
       Bovis Kyle Burch & Medlin
       806 Green Valley Road, Suite 203
       Greensboro, North Carolina 27408
       manderson@boviskyle.com
       Attorney for Auto-Owners Insurance Company
       (via CM/ECF)

       David S. Coats
       Bailey & Dixon, L.L.P.
       Post Office Box 1351
       Raleigh, North Carolina 27602
       dcoats@bdixon.com
       Attorney for Streamline Developers, LLC, and Jordan Maroules
       (via U.S. Mail, Postage Prepaid)

                                    TEAGUE, CAMPBELL, DENNIS & GORHAM, L.L.P.

                                    BY: /s/ William A. Bulfer
                                        William A. Bulfer




                                                 17
        Case 4:22-cv-00008-BO Document 24 Filed 02/16/22 Page 17 of 17
